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3                                  UNITED STATES DISTRICT COURT

4                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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     UNITED STATED OF AMERICA,                               Case No. 1:16-CR-00187-DAD-BAM
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                   Plaintiff,                                ORDER EXTENDING TIME TO
8                                                            COMPLETE EXAMINATION AND
            v.                                               SERVICE OF ORDER
9
     ROBERT GONZALEZ,
10
                   Defendant.
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12          On May 21, 2019, this Court ordered defendant to be committed for psychiatric or
13   psychological examination pursuant to 18 U.S.C. §4241(b). Defendant arrived at the Metropolitan
14   Correctional Center in San Diego on June 6, 2019. The Court has received a request from the
15   Metropolitan Correctional Center for an extension of time to complete the testing and examination.
16          For good cause shown, the Court GRANTS the extension of time. The Court GRANTS the
17   requested extension to July 22, 2019 to complete the testing and examination necessary to develop a
18   history, diagnosis, and opinion. The Court finds that commitment for the evaluation commenced upon
19   defendant’s arrival the Metropolitan Correctional Center.
20          The Clerk is directed to serve a copy of this order on Lisa Matthews, Ph.D., Chief Psychologist
21   at both an email address of lhope@bop.gov and mailing address of 535 N. Alameda Street, Los
22   Angeles, California 90012.
23   IT IS SO ORDERED.
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        Dated:    July 1, 2019                               /s/ Barbara A. McAuliffe            _
25
                                                      UNITED STATES MAGISTRATE JUDGE
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